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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    UNITED STATES OF AMERICA,                             Case No. 11-cr-00664-JSW-1

                                   8                    Plaintiff,
                                                                                              ORDER TO SHOW CAUSE
                                   9             v.
                                                                                              Re: Dkt. No. 545
                                  10    EBRAHIM SHABUDIN,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13           On September 26, 2018, Ebrahim Shabudin, through counsel, filed a motion to vacate his

                                  14   sentence under 28 U.S.C. § 2255. The Ninth Circuit affirmed Mr. Shabudin’s conviction and

                                  15   sentence on July 5, 2017.

                                  16           Mr. Shabudin seeks to vacate his sentence on the grounds of ineffective assistance of

                                  17   counsel. This claim appears colorable under 28 U.S.C. § 2255 and merits an answer from the

                                  18   government.

                                  19           In general, this Court has required the government to file an opposition within 75 days

                                  20   after the Section 2255 motion was filed. Accordingly, the following deadlines will apply, unless

                                  21   the parties submit a stipulation and proposed order for a modified briefing schedule: (1) the

                                  22   government shall file an opposition conforming in all respects to Rule 5 of the Rules Governing

                                  23   Section 2255 Proceedings on or before December 12, 2018, showing cause why the Court should

                                  24   not “vacate, set aside or correct the sentence” being served by Mr. Shabudin; (2) Mr. Shabudin

                                  25   shall file a reply brief 30 days after the opposition is filed.

                                  26           Thereafter, the matter will be deemed submitted on the papers, unless the Court orders

                                  27   otherwise.

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                                   1          IT IS SO ORDERED.

                                   2   Dated: October 2, 2018

                                   3                                       ______________________________________
                                                                           JEFFREY S. WHITE
                                   4                                       United States District Judge
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Northern District of California
 United States District Court




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